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     and OTTOMOTTO LLC
15
                              UNITED STATES DISTRICT COURT
16
                           NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18
     WAYMO LLC,                                  Case No. 3:17-cv-00939-WHA
19
                       Plaintiff,                DECLARATION OF MEREDITH
20                                               DEARBORN IN SUPPORT OF
           v.                                    DEFENDANTS UBER
21                                               TECHNOLOGIES, INC.’S AND
     UBER TECHNOLOGIES, INC.,                    OTTOMOTTO LLC’S
22   OTTOMOTTO LLC; OTTO TRUCKING LLC,           ADMINISTRATIVE MOTION TO FILE
                                                 UNDER SEAL PORTIONS OF THEIR
23                     Defendants.               BRIEF IN RESPONSE TO WAYMO’S
                                                 MEMORANDUM REGARDING
24                                               ADVERSE INFERENCES TO BE
                                                 DRAWN FROM ANTHONY
25                                               LEVANDOWSKI’S ASSERTION OF
                                                 THE FIFTH AMENDMENT
26
                                                 Judge: Hon. William H. Alsup
27
                                                 Trial Date: October 10, 2017
28
         DECLARATION OF MEREDITH DEARBORN ISO UBER’S ADMINISTRATIVE MOTION TO FILE
                                  DOCUMENTS UNDER SEAL
                               CASE NO. 3:17-CV-00939-WHA
     Case 3:17-cv-00939-WHA Document 900-1 Filed 07/14/17 Page 2 of 3



 1          I, Meredith Dearborn, declare as follows:

 2          1.      I am a partner at law at the law firm of Boies Schiller & Flexner LLP representing

 3   Defendants Uber Technologies Inc. and Ottomotto LLC (collectively, “Uber”) in this matter. I

 4   am a member in good standing of the Bar of the State of California. I make this declaration based

 5   upon matters within my own personal knowledge and if called as a witness, I could and would

 6   competently testify to the matters set forth herein.

 7          2.      I make this declaration in support of Uber’s Administrative Motion to File Under

 8   Seal Their Brief in Response to Waymo’s Memorandum Regarding Adverse Inferences to be

 9   Drawn From Anthony Levandowski’s Assertion of the Fifth Amendment.

10          3.      I have reviewed the following documents and confirmed only the portions

11   identified below merit sealing:

12
              Documents                Portions to Be Filed Under Seal    Designating Party
13   Uber’s Brief In Response to       Highlighted Portions            Waymo (green)
     Waymo’s Memorandum
14   Regarding Adverse                                                       Uber (blue)
     Inferences to Be Drawn From
15   Anthony Levandowski’s
     Assertion of the Fifth
16   Amendment (“Uber’s Brief”)
     Exhibit A to the Declaration      Highlighted Portions                  Waymo (green)
17   of Meredith Dearborn
18

19

20          4.      I understand that the blue-highlighted portions of Uber’s Brief contain highly
21   confidential information relating to acquisition agreements, including highly confidential business
22   information relating to the corporate structure of Uber Technologies, Inc. (a privately held
23   corporation) and highly confidential information relating to business terms of the agreements.
24   This highly confidential information is not publicly known, and its confidentiality is strictly
25   maintained. This information could be used by competitors to Uber’s detriment, and including in
26   the context of negotiating business deals.
27
28
                                              1
          DECLARATION OF MEREDITH DEARBORN ISO UBER’S ADMINISTRATIVE MOTION TO FILE
                                   DOCUMENTS UNDER SEAL
                                CASE NO. 3:17-CV-00939-WHA
     Case 3:17-cv-00939-WHA Document 900-1 Filed 07/14/17 Page 3 of 3



 1          5.      I understand that the green-highlighted portions of Uber’s Brief contain

 2   information that Waymo has requested that Uber file under seal. On July 13, 2017, I emailed

 3   specific facts that are reflected in this material, told Waymo that Uber does not believe the vast

 4   majority of such information is properly designated as confidential or needs to be under seal, and

 5   asked Waymo to permit it to be filed publicly. Waymo did not agree. A true and correct copy of

 6   this correspondence is attached hereto as Exhibit A.

 7
            6.       Defendants’ request to seal is narrowly tailored to the specific exhibits that merit
 8
     sealing.
 9
            I declare under penalty of perjury that the foregoing is true and correct.
10
            Executed this14th day of July, 2017 at Oakland, California.
11

12

13

14   Dated: July 14, 2017                          BOIES SCHILLER FLEXNER LLP
15
                                                   By: /s/ Meredith Dearborn
16                                                                Meredith Dearborn
17

18
                               ATTESTATION OF E-FILED SIGNATURE
19
            I, Karen L. Dunn, am the ECF User whose ID and password are being used to file this
20
     document. In compliance with General Order 45, X.B., I hereby attest that Meredtith Dearborn
21
     has concurred in this filing.
22
     Dated: July 14, 2017
23
                                                  /s/Karen L. Dunn
24                                                Karen L. Dunn
25

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27
28                                            2
          DECLARATION OF MEREDITH DEARBORN ISO UBER’S ADMINISTRATIVE MOTION TO FILE
                                   DOCUMENTS UNDER SEAL
                                CASE NO. 3:17-CV-00939-WHA
